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GMP Hawaii, Inc., dba GMP Associates,
and Ohio Pacific Tech, Inc.,

dba GMP Associates, Inc.

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OCT 14 2008

JEANNE G.
Chork of Court

IN THE DISTRICT COURT OF GUAM
TERRITORY OF GUAM

 

MAEDA PACIFIC CORPORATION, a Guam
corporation,
Plaintiff,
vs.

GMP HAWAL, INC., et al.,
Defendants.

 

OHIO PACIFIC TECH, INC., an Ohio corporation
doing business as GMP ASSOCIATES, INC.
Counter-Claim Plaintiff,
vs.

MAEDA PACIFIC CORPORATION, a Guam
corporation,

Counter-Claim Defendant.

 

GMP HAWALI, INC., a Hawaii corporation, and

OHIO PACIFIC TECH, INC., an Ohio corporation

doing business as GMP ASSOCIATES, INC.,
Cross-Plaintiffs,

VS.

JORGENSEN & CLOSE ASSOCIATES, INC., a

 

‘Colorado corporation,

CIVIL ACTION NO. 08-00012

IDEFENDANT OHIO PACIFIC

(TECH, INC. and GMP HAWAII,
INC.’S ANSWER, COUNTERCLAIM,
(CROSS-CLAIM, AND JURY TRIAL
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Cross-Defendant,

 

GMP HAWAKJ, INC., a Hawati corporation, and
OHIO PACIFIC TECH, INC., an Ohio corporation
doing business as GMP ASSOCIATES, INC.,

VS.

SMITHBRIDGE GUAM, INC.

 

Third Party Plaintiffs

Third Party Defendant.

 

 

 

 

 

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ANSWER

COMES NOW Defendants Ohio Pacific Tech, Inc. and GMP Hawaii, Inc.
(collectively “GMP Associates”), by and through their attorneys, and hereby respond to the
Complaint as follows:

1. GMP Associates admits the allegations in paragraphs 1.1 of the
Complaint.

2. GMP Associates admits the allegations in paragraphs 1,2 of the
Complaint.

3. As to the allegations in paragraph 1.3, GMP Associates admits the
allegations therein, and in addition notes that Ohio Pacific Tech, Inc. was formerly known as
GMP Associates, Inc.

4, GMP Associates admits the allegations in paragraphs 1.4 of the
Complaint.

5. As to the allegations in paragraph 1.5, GMP Associates admits only that
Plaintiff's complaint seeks damages in excess of $75,000. GMP Associates denies any liability
for such alleged damages.

6. As to the allegations in paragraph 2.1, GMP Associates is without
knowledge or information sufficient to form a belief as to the truth or falsity of the allegations
in the first sentence, and therefore denies the allegation therein. GMP Associates admits the
remaining allegations except that GMP Associates denies that it was the designer of the
reservoir tank.

7. GMP Associates admits the allegations in paragraph 2.2.

 

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8. GMP Associates is without knowledge or information sufficient to form
a belief as to the truth or falsity of the allegations in paragraph 2.3 of the Complaint and
therefore denies each and every allegation therein.

9. GMP Associates is without knowledge or information sufficient to form
a belief as to the truth or falsity of the allegations in paragraph 2.4 of the Complaint and
therefore denies each and every allegation therein.

10. GMP Associates admits the allegations in paragraph 2.5 except that on
information and belief, Jorgensen & Close Associates, Inc. (“Jorgensen”) commenced design
work of the reservoir tank about seven months after the award of the contract.

tL. GMP Associates admits the allegations in paragraph 2.6 except that GMP
Associates’ preparation of the final “design” specifications and “design” drawings did not
include the design of the reservoir tank.

12. As to the allegations in paragraph 2.7, GMP Associates admits that
Exhibit A to the Complaint consists of true copies of the Agreement and Change Orders entered
into between Plaintiff and GMP Associates. GMP Associates denies the remaining allegations
therein.

13. GMP Associates is without knowledge or information sufficient to form
a belief as to the truth or falsity of the allegations in paragraph 2.8 of the Complaint and
therefore denies each and every allegation therein.

14. GMP Associates admits the allegations in paragraph 2.9 insofar as it was
aware of the venting requirements; however, it denies that it was responsible for the design of
the reservoir tank. GMP Associates is without sufficient knowledge or information as to
Jorgensen.

15. GMP Associates denies the allegations in paragraph 2.10.

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16. GMP Associates denies the allegations as to GMP Associates in
paragraph 3.1. GMP Associates admits that Jorgenson was responsible for inclusion of air
vents in the design and that the Wiss, Janney, Elstner Associates, Inc. report found that the
reservoir tank roof collapse was attributed to the absence of air vents within the tank. GMP
Associates is without knowledge or information sufficient to form a belief as to the truth or
falsity of the remaining allegations in paragraph 3.1 of the Complaint and therefore denies each
and every allegation therein.

17. GMP Associates denies the allegation in the first sentence of paragraph
3.2 as to GMP Associates only. GMP Associates admits that the Wiss, Janney, Elstner
Associats, Inc. report found that the reservoir tank roof collapse was attributed to the absence of
air vents within the tank.

18. GMP Associates denies the allegations in paragraph 3.3.

19. GMP Associates reasserts its prior responses to paragraphs 1.1 through
3.3 in response to paragraph 4.1.

20. GMP Associates admits paragraph 4.2, except that GMP Associates
denies that it contractually agreed to design the reservoir tank.

21. | GMP Associates denies the allegations in paragraph 4.3.

22, GMP Associates reasserts its prior responses to paragraphs 1.1 through
4.3 in response to paragraph 5.1.

23. GMP Associates admits the allegations in paragraph 5.2. as to value
engineering services, preparation of the OMSI, and construction quality control. GMP
Associates denies paragraph 5.2 insofar as it alleges that GMP Associates was responsible for
the design of the reservoir tank and that it agreed to prepare as-built drawings, shop drawings

and cost overruns. Furthermore, GMP Associates denies that it performed construction quality

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control during the construction of the reservoir tank roof because GMP Associates’ contract had
already expired by that time. GMP Associates denies all other allegations in paragraph 5.2.

24. GMP Associates denies the allegations in paragraph 5.3.

25. GMP Associates generally and specifically denies each and every
allegation not herein specifically admitted to by it.

Affirmative Defenses

1. The Complaint fails to state a claim upon which relief can be granted.
Plaintiffs negligence claim is a breach of contract claim. Plaintiff is not entitled to
consequential damages.

2. The Complaint is barred by reason of acts, omissions, representations and
courses of negligent and dilatory conduct by Plaintiff or other parties, thereby barring, under the
doctrine of estoppel, any causes of action asserted by Plaintiff.

3. GMP Associates is entitled to offset for Plaintiff's failure to compensate
GMP Associates for work performed and for Plaintiffs’ breaches of contract as set out in the
below counterclaims.

4. The Complaint is barred because GMP Associates was not responsible
for the design of the reservoir tank

5. Plaintiff failed to perform condition precedent.

6. GMP Associates performed all contractual obligations.

7. Plaintiff has failed to join indispensable parties, as required by Rule 19 of
the Federal Rules of Civil Procedure.

8. Plaintiff is precluded from maintaining this Complaint by the equitable
doctrine of unclean hands.

9, The Complaint is barred by the doctrine of laches.

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10. The Complaint is barred by the doctrine of waiver.

11. The Complaint is barred to the extent Plaintiff failed to mitigate its
alleged damages.

12. ‘If damages were incurred as alleged, they were caused solely by the
conduct of Plaintiff, other defendants, or third persons or entities, and not GMP Associates.

13. Plaintiff's own negligence or that of third parties was the supervening
cause of any injuries Plaintiff may have sustained, and therefore Plaintiff may not recover
against GMP Associates.

14, GMP Associates denies liability, but if it is liable, it is entitled to
contribution from Jorgenson & Close Associates and Smithbridge Guam (Inc.).

WHEREFORE, GMP Associates prays that judgment be entered in favor of
GMP Associates and against Plaintiff for all causes of action in the Complaint, that Plaintiff
take nothing by way of its Complaint, that GMP Associates be awarded its costs, attorneys’ fees
and such other and further relief that the Court deems just and proper.

Submitted this 10th day of October, 2008
CALVO & CLARK, LLP
Attorneys at Law

Attorneys for GMP Hawaii, Inc., dba GMP
Associates, and Ohio Pacific Tech, Inc., dba GMP

Associates, Ine.
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By:
DANIEL M. BENJ

 

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COUNTERCLAIM
Defendant and Counterclaimant Ohio Pacific Tech, Inc., formerly known as
GMP Associates, Inc., by and through counsel, hereby counterclaims against Plaintiff and
Counter-defendant Maeda Pacific Corporation as follows:
Jurisdiction

1. Jurisdiction is vested in this Court pursuant to 28 U.S.C. §1332.

2. The matter in controversy exceeds $75,000, exclusive of interest and
costs.
Parties
3. Defendant and Counterclaimant Ohio Pacific Tech., Inc., formerly

known as GMP Associates, Inc. (“GMP Associates”), is an Ohio company.

4. Plaintiff and Counter-defendant Maeda Pacific Corporation (“Maeda”) is
a Guam Corporation.

Facts

5. GMP Associates entered into an agreement (the “Agreement”) with
Maeda, the Contractor, to design several wells, water transmission lines, and a pump station for
the Andersen Air Force Base Off-Site Water System Project. A true and correct copy of the
Agreement and associated change orders are attached to Maeda’s Complaint as Exhibit A.

6. Pursuant to the Agreement, GMP Associates also agreed to provide
construction quality control until October 31, 2005.

7. The fees stated in the Agreement for construction quality control services

were deficient by $100,000.

 

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8. Pursuant to the Agreement, GMP Associates also agreed to conduct
value engineering and receive the first $100,000 in value engineering savings to make up for
the “construction quality control budget shortfall.”

9. The Agreement further provided that “GMP Associates shall conduct
Value Engineering on the bid and 30% design documents provided by the U.S. Navy” and that
“[ajny Value Engineering Savings beyond the $100,000 for construction quality control shall be
equally divided between Maeda Pacific and GMP.”

10. —‘ Pursuant to the Agreement, Maeda and GMP Associates both “shall work
diligently to identify the source of savings to fund this shortfall.”

11. GMP Associates conducted value engineering for the following items:

a. Cabinets. GMP Associates recommended non-stainless steel
cabinets and installation of AC instead of stainless steel cabinets without AC for cight buildings
at the facility. Savings are estimated to be $83,200.

b. Electrical Hand Houle Covers. The orginal design called for
metal covers. Maeda found concrete covers to be less expensive. GMP Associates directed the
designer to change his design to include concrete covers instead of metal covers. Savings are
estimated to be $100,000.

c. Roofs, Substitution of cast-in-place roofs for hollow planks
created savings estimated at $300,000.

d. Supervisory Control and Data Acquisition (“SCADA”)
system. The original cost of the SCADA system was based on Motorola Corporation’s price of
$676,748.79. GMP Associates presented the option of Dynatek Inc. at $452,020 and
Thunderbird at approximately $300,000. Maeda finally chose Thunderbird as the

subcontractor. All of the proposals were based on the same equipment manufactured by

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Motorola Corporation. Choosing Thunderbird over Motorola Corporation created savings of
approximately $376,748.79.

@, UPS units. Downsizing UPS units at 10 well sites and central
control room created savings of $5,500.

12. Total savings of value engineering amounted to approximately
$865,448.79 to be proven at trial.

13. Maeda paid GMP Associates $100,000 for value engineering, i.e., the
first $100,000 in value engineering realized in accordance with the Agreement and Change
Order #3, to make up for the “construction quality control budget shortfall.”

14. The remainder of approximately $765,448.79 was supposed to be
“equally divided” between Maeda and GMP Associates pursuant to the Agreement. Maeda
failed to pay this amount in breach of the Agreement. Thus, Maeda owes GMP Associates
approximately $382,724.40, or more, pursuant to the Agreement.

15. Maeda also failed to carry out the terms of the Agreement in failing to
“work diligently” with GMP Associates to implement several other value engineering proposals
identified by GMP Associates. Maeda failed to present these value engineering proposals to the
Department of the Navy.

16, Pursuant to the Agreement, Maeda was supposed to pay GMP Associates
monthly for 10 months to provide construction quality control services.

17. The Agreement was set to expire on October 31, 2005.

18. Due to delays on Maeda’s part, Maeda needed to extend the Agreement.
At the time Maeda calculated that it needed approximately 180 more days of construction
quality control in order to finish the project. For the sake of continuity, GMP Associates and

Maeda agreed that Maeda would pay half of the construction quality control monthly costs for

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November and December, while Maeda and GMP Associates negotiated to extend the
Agreement.

19. GMP Associates provided construction quality contro! services to the
project for the months of November and December 2005.

20. The parties did not reach an agreement to extend the Agreement.

21. GMP Associates ceased work on the project on December 24, 2005.

22. GMP Associates never received its fees of approximately $21,560 for its
construction quality control services for the month of December 2005.

Count One
Breach of Contract

23. GMP Associates hereby incorporates and adopts each and every
allegation of paragraphs | through 22.

24. GMP Associates performed all conditions, covenants, and promises
required on its part to be performed in accordance with the terms and conditions of the
Agreement and the agreement to work during the months of November and December 2005
while the parties negotiated a potential extension of the Agreement.

25. Maeda breached said agreements by failing to compensate GMP
Associates for value engineering conducted and for construction quality control services
performed for the month of December 2005.

26. Maeda breached the Agreement in failing to “work diligently” with GMP
Associates to implement several other value engineering proposals identified by GMP
Associates and failing to present these value engineering proposals to the Department of the

Navy, as required by Maeda’s contract with the Department of the Navy, to be proven at trial.

 

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27. Such failure to present GMP Associates’ value engineering proposals to
the Department of the Navy was a breach on the part of Maeda of the contract between Maeda
and the Department of the Navy. Maeda only presented value engineering once as to the
method and shape of the design of the reservoir tank, for which GMP Associates received no
value engineering credit because it had no part in the design of the reservoir tank. After this
one successful value engineering proposal, Maeda refused to present any other proposals of
value engineering, as required by Maeda’s contract with the Department of the Navy. This
breach of Maeda’s contract with the Department of the Navy directly caused Maeda to breach
its contract with GMP Associates.

28. By reason of Maeda’s breach of said agreements as herein alleged, GMP
Associates has suffered damages in an amount to be proven at trial.

WHEREFORE, GMP Associates prays for a judgment against Maeda as
follows:

1, For compensatory and incidental damages to be proven at trial;

2. For pre-judgment interest on the amount of damages awarded from and
after December 24, 2005 to the date of judgment;

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3. For post-judgment interest;

4, For costs;

5. For attorneys’ fees; and

6. For such other relief as the Court deems just and equitable.

Submitted this 10th day of October, 2008

CALVO & CLARK, LLP

Attorneys at Law

Attorneys for GMP Hawaii, Inc., dba GMP
Associates, and Ohio Pacific Tech, Ine, dba GMP

Associates, ing.

DANIEL M. BEXJAMIN

 

 

 

 

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CROSS-CLAIM FOR CONTRIBUTION AGAINST DEFENDANT
JORGENSEN & CLOSE ASSOCIATES, INC,

Defendants and Cross-claimants Ohio Pacific Tech, Inc. and GMP Hawaii, Inc.
(collectively “Cross-claimants”), by and through counsel, hereby cross-claim against Defendant
and Cross-claim Defendant Jorgensen & Close Associates, Inc. (“Jorgensen”) as follows:

Jurisdiction
1. Jurisdiction is vested in this Court pursuant to 28 U.S.C. §1367(a) and
G.R.C.P. Rule 13(g) because it arises out of a transaction and occurrence alleged in Plaintiff's
complaint so as to form a part of the same case or controversy within the meaning of Article IIT
of the United States Constitution.
Parties
2. Cross-claimant Plaintiff Ohio Pacific Tech., Inc., formerly known as

GMP Associates, Inc., is an Ohio corporation.

3. Cross-claimant Plaintiff GMP Hawaii, Inc. is a Hawaii corporation.
4, Cross-claim Defendant Jorgensen is a Colorado corporation.
Facts
5. Whereas, Maeda Pacific Corporation (“Maeda” or “Plaintiff’), contractor

for the Andersen Air Force Base Off-Site Water System Project, has brought suit against Cross-
claimant seeking damages in excess of one million dollars with regard to the design and
construction of a water reservoir tank that subsequently collapsed.

6. On information and belief, Maeda contracted with Smithbridge Guam,

Inc. (“Smithbridge”) to design and construct the water reservoir tank.

 

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7. On information and belief, Smithbridge, in turn, hired Jorgensen to
design the water reservoir tank.

8. On information and belief, as the structural engineer charged with
designing the water reservoir tank, Jorgensen was responsible for ensuring the water reservoir
tank’s design included vents as specified in the Environmental Design Analysis and
construction specifications.

9, On information and belief, Jorgensen was responsible for reviewing and
stamping the precast prestressed roof design and drawings for the reservoir tank prepared by
Smithbridge or its subsidiary.

10. On information and belief, Jorgensen was responsible for reviewing shop
drawings for the reservoir tank, including any shop drawings for the vents for the roof of the
reservoir tank.

11. On information and belief, Jorgensen failed to include vents in its design
for the reservoir tank’s roof.

12. On information and belief, Jorgensen was responsible for field
observation trips during construction to ensure compliance with the construction specifications
and any shop drawings.

13. On July 12, 2007, the roof of the water reservoir tank collapsed.

14. Qn information and belief, a post-incident report commissioned by
Smithbridge, and prepared by Wiss, Janney, Elstner Associates, Inc. (“WJE”), found that the

cause of the collapse was attributed to the lack of vents in the roof of the water reservoir tank,

Count One

Contribution

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15. Cross-claimants repeat and re-allege each and every allegation contained

in Paragraphs 1-11 of this cross-claim.
| 16. Cross-claimants contend that they are in no way legally responsible for

any of the damages allegedly sustained by Plaintiff Maeda. To the extent any liability is held to

exist on the part of Cross-claimants, Jorgensen is obligated to reimburse Cross-claimants and jis

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liable to Cross-claimants for all or any liability so assessed by way of contribution. Cross-
claimants hereby assert such right to contribution.
Prayer for Relief

WHEREFORE, Cross-claimants respectfully ask that this Court:

L. To dismiss the Complaint against them;

2. To award contribution for any and all damages and statutory damages to
Cross-claimants and against Jorgenson in the event that Cross-claimants are held liable to
Plaintiff;

3. To award Cross-claimants any and all costs and expenses, including
attorney fees, incurred in the defense of this action;

4, For pre and post judgment interest; and

5. For such other and further relief as the Court deems just and proper.

Submitted this 10th day of October, 2008

CALVO & CLARK, LLP

Attorneys at Law

Attorneys for GMP Hawaii, Inc., dba GMP
Associates, and ae Pacific Tech, Ine.,

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Jury Trial Demand

Defendants GMP Hawaii, Inc., dba GMP Associates, and Ohio Pacific Tech, Inc., dba
GMP Associates, Inc., hereby demand as of right a jury trial in this matter on all matters triable
by jury, including without limitation as to the claims, cross-claims, counter-claims and third

party claims in this matter.

Submitted this 10th day of October, 2008

CALVO & CLARK, LLP

Attorneys at Law

Attorneys for GMP Hawaii, Inc., dba GMP
Associates, and Ohio Pacific Tech, Inc.,

 

 

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